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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                            §
     COMMISSION,                                        §
               Plaintiff,                               §      C. A. NO.: 3:18-cv-00057
                                                        §
v.                                                      §
                                                        §      JURY TRIAL DEMANDED
COMPASS GROUP USA, INC.                                 §
                    Defendant.                          §



        UNOPPOSED MOTION FOR STAY AND EXTENSION WITH REQUEST FOR
                           EXPEDITED RULING



         Plaintiff Equal Employment Opportunity Commission ("EEOC") moves this Court

to stay this litigation and extend all deadlines due to the shutdown of operations of the

Federal Government and lapse in appropriations. The EEOC also requests an expedited

ruling on this motion.

1.       EEOC is the Federal Government agency charged by Congress with interpreting,

administering, and enforcing the Federal Government's major employment discrimination

laws.

2.       Congress failed to pass a continuing resolution on Friday December 21, 2018, and

as a result, appropriations for funding Federal Government operations lapsed as of midnight

on December 21st and the Federal Government is now shut down.

3.       As a Federal Government agency, EEOC is subject to the federal Antideficiency

Act, which provides in part that an "officer or employee of the United States Government

...may not ...involve [the] government in a contract or obligation for the payment of money
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before an appropriation is made unless authorized by law...." (31 U.S.C. § 1341(a)(1)(B))

and" ... may not accept voluntary services ...or employ personal services exceeding that

authorized by law except for emergencies involving the safety of human life or the

protection of property" (31 U.S.C. § 1342). Such emergencies "do[ ] not include ongoing,

regular functions of the government the suspension of which would not imminently threaten

the safety of human life or the protection of property" (id.).

4.     Because of the lapse in appropriations of Federal Government funding and the

requirements of the Antideficiency Act, EEOC lawyers and legal support staff are

prohibited from engaging in litigation activities as of midnight on December 21, 2018, with

the exception of a four- hour wind-down period on Monday, December 24, 2018.

5.      Therefore, the EEOC seeks an order to stay this litigation for the duration of the

lapse in agency appropriations and to extend all deadlines and discovery matters that

occur during the lapse in appropriations for the same time period as the lapse.

6.     Because government operations may resume at any time, the EEOC requests an

expedited ruling on this motion.

7.    Counsel for the EEOC has contacted Defendant’s counsel regarding this motion and

Defendant does not oppose this motion.

       WHEREFORE, Plaintiff EEOC requests that this Court enter an Order staying the

litigation of this matter due to a lapse in appropriations, lifting the stay upon restoration of

appropriations, and extending all deadlines which occur during the term of any lapse in

appropriations by the same time period as the lapse.

                                            Respectfully Submitted,

                                            EQUAL EMPLOYMENT
                                            OPPORTUNITY COMMISSION

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                                              /s/ Connie W. Gatlin
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                                              Opportunity Commission
                                              Houston District Office
                                               1919 Smith Street, Suite 600
                                              Houston, TX 77002
                                              Phone: (713) 651-4913


                          CERTIFICATE OF CONFERENCE

        The undersigned counsel certifies that, on December 26, 2018, she conferred
regarding the relief requested herein by telephone with Stephen Roppolo, counsel for
Defendant, who indicated that, due to the circumstances, Defendant is unopposed to the
relief sought in this motion.

                                 /s/ Connie W. Gatlin
                                 Connie Wilhite Gatlin


                            CERTIFICATE OF SERVICE

       I hereby certify that, on December 26, 2018, a copy of this document was served
by electronic transmission via the District Court's CM/ECF system, pursuant to L.R.
5 of the Southern District of Texas, on counsel for Defendant, as follows:

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                                 /s/ Connie W. Gatlin
                                 Connie Wilhite Gatlin

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